                                        FILED24 SEP '2016:19USDC-ORP




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA

               v.                                    INDICTMENT

PHILLIP JOHN WENZEL                                  18 U.S.C. § 23l(a)(3)

               Defendant.                            UNDER SEAL



                               THE GRAND JURY CHARGES:

                                           COUNTl
                                        (Civil Disorder)
                                     (18 U.S.C. § 231(a)(3))

       On or about August 14, 2020, in the District of Oregon, during a civil disorder, defendant

PHILLIP JOHN WENZEL, knowingly committed a violent act for the intended purpose of

obstructing, impeding and interfering with a law enforcement officer who was lawfully engaged

in the lawful performance of their official duties incident to and during the commission of a civil

disorder, and that such civil disorder in any way or degree obstructed, delayed and adversely

Ill

Indictment                                                                                  Page 1
I

    affected commerce and the movement of any article or commodity in commerce;

           In violation of Title 18, United States Code, Section 231(a)(3).

    Dated: September ~       ' 2020.                    A TRUE BILL.




                                                        OFFICIATING FOREPERSON

    Presented by:

    BILLY J. WILLIAMS
    United States Attorney




    Assistant United States Attorney




    Indictment                                                                    Page2
